    Case 2:18-cv-00213-GJQ-MV ECF No. 11 filed 05/24/19 PageID.156 Page 1 of 5



                                 UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF MICHIGAN
                                      NORTHERN DIVISION


    JOHN JAY JOHNSON,

            Plaintiff,

    v.                                                                  Case No. 2:18-CV-213

    ASPIRUS CORP.,                                                      HON. GORDON J. QUIST

          Defendant.
    _____________________/

                    ORDER ADOPTING REPORT AND RECOMMENDATION
                     AND DISMISSING FOUR CLAIMS WITH PREJUDICE

           Plaintiff, John Jay Johnson, a non-prisoner pro se litigant, filed this action against Aspirus

Corporation, asserting six claims: (1) a “HIPAA violation,” (2) “American Disabilities Act of

1990,” (3) “Abuse of Power,” (4) “Fraude [sic] and Deception,” (5) “Defamation of Charactor

[sic],” and (6) “Negligence.” (Compl., ECF No. 1.) Under 28 U.S.C. § 1915(e)(2)(B), the Court

must dismiss an action brought in forma pauperis if the action is (1) frivolous or malicious, (2)

fails to state a claim upon which relief may be granted, or (3) seeks monetary relief against a

defendant who is immune from such relief. Using that standard, Magistrate Judge Timothy P.

Greeley 1 issued a Report and Recommendation (R & R) recommending that the Court dismiss the

following claims: “HIPAA violation,” “Abuse of Power,” “Fraude [sic] and Deception,” and

“Defamation of Charactor [sic].” (ECF No. 5.) Plaintiff filed timely objections to the R & R.

(ECF No. 6.)

           Upon receiving objections to an R & R, the district judge “shall make a de novo

determination of those portions of the report or specified proposed findings or recommendations


1
    Judge Greeley recently retired on March 14, 2019.
 Case 2:18-cv-00213-GJQ-MV ECF No. 11 filed 05/24/19 PageID.157 Page 2 of 5



to which objection is made.” 28 U.S.C. § 636(b)(1). This Court may accept, reject, or modify any

or all of the magistrate judge’s findings or recommendations. 28 U.S.C. § 636(b)(1); Fed. R. Civ.

P. 72(b).

       After conducting a de novo review of the R & R, the objections, and the pertinent portions

of the record, the Court concludes that the R & R should be adopted and the claims indicated by

the magistrate judge should be dismissed with prejudice. The Court notes that it is hard to decipher

Plaintiff’s specific objections to the R & R; Plaintiff’s objections are primarily comprised of new

factual allegations that are not relevant to the claims of this case and expressions of general

disagreement with the magistrate judge’s findings. “The filing of vague, general, or conclusory

objections does not meet the requirement of specific objections and is tantamount to a complete

failure to object.” Zimmerman v. Cason, 354 F. App’x 228, 230 (6th Cir. 2009). Nonetheless, the

Court will address the issues that it can glean from the objections in connection with the findings

of the magistrate judge.

                                      Federal Jurisdiction

       The magistrate judge noted in the R & R that it is unclear whether diversity jurisdiction

exists. Plaintiff states in his objections that diversity jurisdiction exists because Aspirus runs

medical facilities in both Wisconsin and Michigan. (ECF No. 6 at PageID.68.) It appears that

Plaintiff misapprehends diversity jurisdiction.       To take advantage of diversity jurisdiction,

opposing parties must be citizens of different states. See 28 U.S.C. § 1332(a). However, because

the Court will permit Plaintiff to proceed past initial screening on his claim of a violation of the

Americans with Disabilities Act (ADA), 42 U.S.C. § 12101 et seq., federal jurisdiction is proper

as arising under federal law. 28 U.S.C. § 1331.




                                                  2
 Case 2:18-cv-00213-GJQ-MV ECF No. 11 filed 05/24/19 PageID.158 Page 3 of 5



                                        HIPAA Violation

       Plaintiff’s first claim asserts a violation of the Health Insurance Portability and

Accountability Act (HIPAA), 42 U.S.C. § 1320a et seq. The magistrate judge recommended

dismissal of Plaintiff’s claim of a HIPAA violation because, “although [the Sixth Circuit has] not

held explicitly that there is no private right of action under HIPAA, express or implied, other

circuits have so held.” Thomas v. Univ. of Tenn. Health Sci. Ctr. at Memphis, No. 17-5708, 2017

WL 9672523, at *2 (6th Cir. Dec. 6, 2017) (collecting cases). The recourse available to an

individual who believes that his HIPAA rights were violated is to file a complaint with the

Department of Health and Human Services (DHHS).

       Plaintiff argues that there is a recent decision by the Connecticut Supreme Court that

concluded that HIPAA does confer a private right of action. (ECF No. 6 at PageID.99-100.)

However, Plaintiff did not provide a citation or information sufficient to locate the case he

references, and, more importantly, the Court finds the decisions of federal circuit courts more

persuasive, particularly on an issue of federal law.

       Plaintiff also states that he has already informed DHHS of the alleged violation because he

sent a letter to the Office of Civil Rights (OCR). (Id. at PageID.103-05.) But DHHS and OCR

are separate agencies, and even if Plaintiff had complained to DHHS, that was the extent of his

remedy under HIPAA. Therefore, the Court will dismiss Plaintiff’s claim of a HIPAA violation.

                                         Abuse of Power

       Plaintiff asserts an “Abuse of Power” claim under the ADA. Plaintiff appears to argue that

the abuse of power occurred when Aspirus supervisors intimidated his relative following the

alleged HIPAA violation. (Id. at PageID.115.) However, as the magistrate judge noted, Plaintiff

does not explain how Aspirus employees intimidated him or his relative. Because Plaintiff has



                                                 3
 Case 2:18-cv-00213-GJQ-MV ECF No. 11 filed 05/24/19 PageID.159 Page 4 of 5



failed to articulate a basis of this claim, the Court agrees with the magistrate judge that the claim

should be dismissed.

                                      Fraud and Deception

       Plaintiff purports to bring a fraud claim pursuant to 18 U.S.C. § 1035. (Id. at PageID.75.)

But the cited provision is a criminal statute. As the magistrate judge correctly concluded, Plaintiff

lacks standing to proceed on this claim because the decision of whether to prosecute Aspirus

criminally lies with the prosecutor. The Court will dismiss Plaintiff’s fraud claim.

                                            Defamation

       The magistrate judge recommended dismissing Plaintiff’s defamation claim because

Plaintiff has failed to plead his defamation claim with specificity. Thomas M. Cooley Law Sch. v.

Doe 1, 300 Mich. App. 245, 262, 833 N.W.2d 331, 341 (2013). In his objections, Plaintiff appears

to argue two instances of defamation: (1) that “the medical record reflects a bad record,” and (2)

the exposure of his health information through the alleged HIPAA violation. (ECF No. 6 at

PageID.88, 91.) Both of Plaintiff’s arguments fail under Michigan law. Because defamation in a

written medical record would constitute libel, Plaintiff must plead “the very words of the libel.”

Cooley Law Sch., 300 Mich. at 263, 833 N.W.2d at 341 (internal quotation marks omitted)

(emphasis in original). Plaintiff has failed to do so. In regard to the alleged HIPAA violation,

Plaintiff has not argued that any of the health information was false, as required to support a

defamation claim. Mitan v. Campbell, 474 Mich. 21, 24, 706 N.W.2d 420, 421 (2005) (stating

that a defamation claim under Michigan law requires that the plaintiff prove “a false and

defamatory statement concerning the plaintiff”). Therefore, the Court will dismiss Plaintiff’s

defamation claim.




                                                 4
 Case 2:18-cv-00213-GJQ-MV ECF No. 11 filed 05/24/19 PageID.160 Page 5 of 5



                             ADA Discrimination and Negligence

       The magistrate judge opined that Plaintiff’s ADA discrimination and negligence claims

were not clearly frivolous and not properly dismissed on initial review. The Court agrees.

                                          Conclusion

       For the foregoing reasons,

       IT IS HEREBY ORDERED that the February 20, 2019, Report and Recommendation

(ECF No. 5) is approved and adopted as the Opinion of the Court.

       IT IS FURTHER ORDERED that the following claims are dismissed with prejudice

pursuant to 28 U.S.C. § 1915(e)(2)(B): “HIPAA Violation,” “Abuse of Power,” “Fraude [sic] and

Deception,” and “Defamation of Charactor [sic].”          Plaintiff may proceed on his ADA

discrimination and negligence claims.



Dated: May 24, 2019                                         /s/ Gordon J. Quist
                                                           GORDON J. QUIST
                                                     UNITED STATES DISTRICT JUDGE




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